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Milione, Shawn (USANYS) [Contractor]

From:                              Jepal, Vinay
Sent:                              Monday, June 20, 2011 1:35 PM
To:                                ofac_feedback@do.treas.gov
Cc:                                CBNA Sanctions
Subject:                           Emailing: Stratus International Contracting - Final
Attachments:                       Stratus International Contracting - Final.pdf

Importance:                        High
Sensitivity:                       Confidential




Attn: OFAC Compliance @ US Treasury

We like to share the attached information with the OFAC.

While performing the Transaction Review on an alert generated by our Transaction Surveillance system, we noted that
one of the party to the transaction may be an Iranian or an Iranian Origin.

Please review the attached letter and the documents. If you have any questions or require any additional details, please
let us know.

Thanks & regards,
Vinay Jepal

Commerzbank AG
Sanctions Compliance Officer
New York, NY 10281‐1050

T: +1 (212) 895‐6771
F: +1 (212) 266‐7235
email: vinay.jepal@commerzbank.com
website: http://www.commerzbank.us

Commerzbank Aktiengesellschaft, Frankfurt am Main Handelsregister/Commercial Register: Amtsgericht Frankfurt am
Main, HRB 32000 Vorsitzender des Aufsichtsrates/Chairman of the Supervisory Board: Klaus‐Peter Müller
Vorstand/Board of Managing Directors: Martin Blessing (Vorsitzender/Chairman), Frank Annuscheit, Markus Beumer,
Achim Kassow, Jochen Klösges, Michael Reuther, Stefan Schmittmann, Ulrich Sieber, Eric Strutz, Martin Zielke



The message is ready to be sent with the following file or link attachments:

Stratus International Contracting ‐ Final


Note: To protect against computer viruses, e‐mail programs may prevent sending or receiving certain types of file
attachments. Check your e‐mail security settings to determine how attachments are handled.


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                               stratus intl payment
   :LT Address                    :COBAUS3XA
    :transaction type              :202 COVER bank tfr favour 3rd bank
    :input from                    :COBADEFF
                                     COMMERZBANK AG FRANKFURT
                                     HEAD OFFICE
                                     32-36 NEUE MAINZERSTRASSE
                                     60261 FRANKFURT GERMANY
    :Validation Flag                 :COV}
--------------------------------------------------------------------------------
{4: Text block:
    :20 /transaction reference number :FAAS109400150500
    :21 /related reference               :FAAS109400150500
    :32A/value date                      :040411 USD 29,442,967.57
    :52A/ordering institution - BIC      :COBADEFF
                                           COMMERZBANK AG
                                           FRANKFURT AM MAIN
    :57A/account with inst - BIC         :CHASUS33
                                           JPMORGAN CHASE BANK, N.A.
                                           NEW YORK,NY
    :58A/beneficiary inst - BIC          :SHHBCHZZ
                                           HYPOSWISS PRIVATBANK AG, ZURICH
                                           ZURICH
    :50K/ordering customer               :/400887746602USD
                                           BT/ FIDEICOMISO / FONDO CHINO
                                           VENEZOLANO. AV GUICAIPURO. URB EL
                                           ROSAL. TORRE BANCO DEL TESORO.
                                           CARACAS - VENEZUELA.
    :52A/ordering institution - BIC      :BDTEVECA
                                           BANCO DEL TESORO, C.A. BANCO
                                            UNIVERSAL
                                             CARACAS
    :59 /beneficiary customer            :/CH7708530519663100203
                                           STRATUS INTERNATIONAL CONTRACTING
                                           J.S.
    :70 /details of payment              :REF: DESEMBOLSO NRO. 386 FONDO
                                           CHINO VENEZOLANO. CODIGO NRO.
                                           00579.
    :33B/amount                          :USD 29,442,967.57}
--------------------------------------------------------------------------------
 Entry   :           /SWIFT/ Date:110404 Time:02:44:17
                    Info:1111/001781




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     STRATUS International Contracting Company has been
     founded in 1978 in Tehran, Iran,with registered paid up share
     capital of Rls 100 billions. STRATUS provides contracting
     services to infrastructure projects such as Roads, Railways,
     Dams, Tunnels, Airports and Buildings. Since 1994, STRATUS
     has been the first pioneered company in exporting Engineering
     and Technical Services in Iran and received “Exemplary
     Exporters” of the year 1999 from his excellency Mr.president.




                                                                                                            Road & Railway
                STRATUS is an Engineering, Construction, Management and Contracting
                Company by specializing in the field of Building Construction, Road Works and
                Water Works.
                STRATUS is Graded in three major categories: Read more...



                                                                                                            Dam
                STRATUS has succeeded to recieve ISO 9001-2000 certificate for Quality
                Management System from MIC registered under UKAS, United Kingdom from
                2004 which upgraded recently to ISO 9001-2008 in 2010 and intending to
                extend it by OHSAS 18001:2007. Read more...



                Our memberships:                                                                            Building
                  • Federation of Contractors of Islamic Countries (F.C.I.C.)
                  • Pakistan Engineering Council
                  • International Chamber of Commerce (I.C.C.)
                  • Iran – UK Chamber of Commerce
                  • Iran – Canada Chamber of Commerce Read more...




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            Contact Us



                                STRATUS International Contracting Co.

                                Address: No.35, Golestan St., Iran Zamin Ave., Shahrake Ghods, Tehran, Iran.

                                Postal Code: 1465865187

                                Tell: (98) 21 8837 3100-6

                                Fax: (98) 21 8808 2882

                                E-mail: stratus@stratusgc.com




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              Branch Offices




                                Middle East                             CIS                          South America
                                    Iran                             Kazakhstan                        Venezuela
                                   Iraq




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           Sister Companies List




                                     1.Samaneh Stratus (INVESTMENT CO.)


                                     2.Iran Construction Investment Co.


                                     3.Eghtesad - Novin Bank


                                     4.Pishgaman Bazar Novin (BROKERAGE CO.)


                                     5.Novin Insurance Co.


                                     6.Pars Shahr Co.


                                     7.Global Petro Tech CO.


                                     8.Keyhan Tabadol Co.


                                     9.Pars Hanza Aluminium CO.


                                     10.Azarbaijan Industry Development Co.


                                     11.Eghtesad Novin Investment CO.


                                     12.Samaneh Gostar Novin


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            7000 Units 'New Ojeda' Housing Development Project




                  Main Technical Features                 Site Gross Area : 318 Hec.
                                                          Concrete works : 520,000 m³
                                                          Net Construction Area : 850.000 m²
                                                          Water & Sewage network : 150 Km
                                                          Electrical network : 200 Km
                                                          Communication network : 220 Km
                                                          Gas network : 30 Km


                  Location                                Ciudad Ojeda, Zulia State, Venezuela

                  Employer                                Ducolsa 'Urban Development S.A'

                  Contract Duration                       48 Months

                  Date of Award                           September 2009

                  Status                                  [ Under Construction ]

                ............................................................................................................................................




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                                                   Dalbandin – Nokkundi Highway - Section III-B                      Details >>




                                                                     Socotra Airport                                 Details >>




                                       Design & Construction of Parliament Building & Commercial Center in
                                                                                                                     Details >>
                                                                   Djibouti City




                                              7000 Units "New Ojeda" Housing Development Project                     Details >>




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